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             EXHIBIT G
             Case 2:24-cv-00170-JHC             Document 81-7          Filed 03/17/25        Page 2 of 29

PUBLIC RECORDS OFFICE

From:                  PUBLIC RECORDS OFFICE
Sent:                  Thursday, December 17, 2020 3:20 PM
To:                    LisaJE@peta.org
Subject:               Public Records Request PR-2020-00621 (Jones-Engel)
Attachments:           Release Package 20-00621 (Jones-Engel).pdf


Released: December 17, 2020

Dr. Lisa Jones‐Engel
PETA
501 Front Street
Norfolk, VA 23510

Re: Public Records Request PR‐2020‐00621 (COMPLETE)



Dear Dr. Jones‐Engel:

This email is provided in response to your public records request for September 3, 2020, in which you requested:

“For the period from January 1, 2017 to the present, please provide a single document that indicates, for each month,
the name of each of the University of Washington’s Institutional Animal Care and Use Committee members, their
position title and Public Health Service (PHS) Policy Membership Role.”

The records responsive to your request are attached to this email as provided by the Public Records Act of Washington
State. This concludes the University's response to your public records request. Please contact our office if you have any
questions or concerns.



Sincerely,

Jade McNallan
Compliance Analyst
UNIVERSITY OF WASHINGTON
Office of Public Records and Open Public Meetings
Mail: Roosevelt Commons‐Box 354997, Seattle, WA 98195
Street: 4311 11th Ave NE, #360
206.543.9180 fax 206.616.6294
pubrec@uw.edu http://depts.washington.edu/pubrec/




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                                                                                                          UW00007415

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                                                                   UW00007416



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                                                                   UW00007417



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                                                                   UW00007418



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                                                                   UW00007420



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                                                                   UW00007421



                                                           Guillermo Decl. Exhibit G
                                                                      Page 7 of 28
               Case 2:24-cv-00170-JHC                 Document 81-7                 Filed 03/17/25   Page 9 of 29

From:                 Bob Ennes
Sent:                 Wednesday, September 9, 2020 10:29 AM PDT
To:                   Kelly Johnson
Subject:              RE: New Public Records Request: PR-2020-00621 (Jones-Engel)
Attachments:          IACUC Home - UW IACUC Contacts.pdf


Kelly,

We do not have a responsive document as requested. The requestor asks for “a single document that
indicates, for each month, the name of each of the University of Washington’s Institutional Care and Use
Committee members, their position title and Public Health Service (PHS) Policy Membership Role.” The
document that was attached with the request as an example is treated as a living document by OAW
and is edited as membership of the Committee changes over time. We do not have archival versions of
this document.

I have attached the current version as that is the only responsive document that we possess.

Please let me know if you have any questions. Thanks.

BOB ENNES
Assistant Director
Office of Animal Welfare

Magnuson Health Sciences Center Box 357160
1959 NE Pacific St, T-254d / Seattle, WA 98195
206-221-8075
ennes@uw.edu / www.depts.washington.edu/uwhsa

W UNIVERSITY of WASHINGTON
From: Kelly Johnson <klj1833@uw.edu>
Sent: Friday, September 4, 2020 11:42 AM
To: Kim Stocking <kstock@uw.edu>; Bob Ennes <ennes@uw.edu>
Cc: Kelly Johnson <klj1833@uw.edu>
Subject: FW: New Public Records Request: PR-2020-00621 (Jones-Engel)

Hi Kim & Bob,

HSA has received a new public records requests from requestor Lisa Jones-Engel. The request has a
response due date of September 21, 2020. The request is attached here and additional information is
embedded below in the message forwarded from Compliance Analyst Jade McNallan. Please read the
request in it’s entirely and identify if you have responsive records. If you believe there are others that
may also have responsive records pertaining to this request, please let me know.

Please let me know if you believe you have records that are responsive and if you have any questions or
need anything clarified in order to respond to this request.

Regards,




                                                                                                                   UW00015116


                                                                                                      Guillermo Decl. Exhibit G
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Kelly



From: PUBLIC RECORDS OFFICE <pubrec@uw.edu>
Sent: Friday, September 4, 2020 11:36 AM
To: David M. Anderson <danderso@uw.edu>
Cc: Kelly Johnson <klj1833@uw.edu>
Subject: New Public Records Request: PR-2020-00621 (Jones-Engel)


Due to the current health emergency you may require additional time to complete your response
to this public records request. If additional time is needed to compile records, please contact our
office as soon as possible at pubrec@uw.edu with your estimated response date. Unless we hear
from you, you should respond to this request as outlined below:


*****Immediate attention required: This is a time-sensitive request for assistance from the
Office of Public Records and Open Public Meetings. Please respond by September 21,
2020.*****



Dave Anderson
Health Sciences Administration
Box 356355

Dear Dave:

Attached to this email is a new Public Records request. You are being asked to help the
University respond promptly to this request by taking the following steps:


     1. Immediately identify all locations, within your area of responsibility, for any record
that may be responsive to this request, including any records held by others within your school,
college, unit, division or department. Below is a list of factors that must be considered when
identifying records responsive to this request.

        2.   Immediately preserve potentially responsive records from destruction or alteration.

      3. After you collect the responsive records, send electronic or hard copies of them to the
Office of Public Records and Open Public Meetings, University of Washington, Box 354997. It
is critical that the copies you send are single-sided and unstapled and that you include a copy of
this letter with your submission.

    4. Please call the staff at the Office of Public Records and Open Public Meetings at 543-
9180 with any questions or concerns you may have about this request.




                                                                                                     UW00015117


                                                                                         Guillermo Decl. Exhibit G
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If you are aware of additional faculty, staff, departments, or entities which may have records
related to this request, please notify this office as soon as possible.

Thank you for your assistance in helping the University respond to the attached public records
request in a timely and efficient manner.

Sincerely,

Jade McNallan
Compliance Analyst
UNIVERSITY OF WASHINGTON
Office of Public Records and Open Public Meetings
Mail: Roosevelt Commons-Box 354997, Seattle, WA 98195
Street: 4311 11th Ave NE, #360
206.543.9180 fax 206.616.6294
pubrec@uw.edu http://depts.washington.edu/pubrec/
_______________________________________________

Responding to Requests for Public Records

-   Any record prepared, owned, used or retained by the University, and that concerns
University business, is considered a public record and must be provided to the Office of Public
Records and Open Public Meetings.

-    The definition of a "record" is very broad and includes correspondence, hand-written notes,
forms, electronic records (such as email and databases), research records, visual records such as
pictures, cd(s) or videos, audio records etc.

-    You may not destroy or alter a requested record. This includes records that exist at the time
a public records request is received by the University even though it may have passed its legal
records retention period or is required to be destroyed by a contract.

-     The University is legally required to identify all responsive records, even those it might
choose to withhold from disclosure under one of the Public Records Act permissible
exemptions. Thus, you must collect and send all records to the Office of Public Records and
Open Public Meetings, even those you consider confidential or personal, those an outside party
considers confidential (such as a vendor or licensee) or personal, or those you consider covered
by the attorney-client privilege. The University might not release such records if they fall within
one of the exemptions to the Public Records Act, but it must provide the requestor an inventory
that identifies all records it chooses to exempt.

-     If the request seeks a potentially large volume of records, you should work closely with the
Office of Public Records and Open Public Meetings to determine a prompt timeframe for
collection of records. The Office of Public Records and Open Public Meetings may explore with
the requestor clarifying, narrowing, or prioritizing the request. You should not contact the
requestor directly.




                                                                                                    UW00015118


                                                                                         Guillermo Decl. Exhibit G
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-   Certain records may be found in more than one UW location. You should not assume that
someone else is going to provide records that you also have in your control.

-    The consequences of not responding promptly or completely to a request are very serious.
The University could be sued and could face costly fines and legal costs for not complying fully
with the requirements of the public records law.




                                                                                                   UW00015119


                                                                                       Guillermo Decl. Exhibit G
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IACUC Members
  new item or edit this list

   Name of Member    Email                              Degree/Credentials        Position Title                   PHS Policy Membership Requirements   Department                        Term End      OPMA

   A.B. (Andrew)     aburich@benaroyaresearch.org       DVM, MS, DACLAM,          Veterinarian (AV at non-UW       Veterinarian                         Outside Institution               10/31/21      3/16/2017
                                                        CPIA                      institution)

   A.W. (Aaron)      wirsinga@uw.edu                    PhD                       Associate Professor              Scientist                            School of Environmental and       10/31/21
                                                                                                                                                        Forest Sciences

   C.M. (Carolyn)    cmali@uw.edu                       MS, DVM, CMAR, CPIA,      Senior Veterinarian              Veterinarian                         WaNPRC                            12/31/21      7/18/2018
                                                        DACLAM

   D.M. (David)      dmack21@uw.edu                     PhD                       Associate Professor              Member                               Rehabilitation Medicine           9/30/21       10/14/2019

   F.R.R. (Ric)      robinsn@uw.edu                     PhD                       Professor                        Member                               Biology Structure                 8/31/21       10/23/2017

   G.S. (Garret)     gstuber@uw.edu                     PhD                       Professor                        Scientist                            Anesthesiology and Pain           11/30/21      11/4/2019
                                                                                                                                                        Medicine, Pharmacology

   J.B. (Jacqui)     jacqui.ague@seattlechildrens.org   MS                        Senior EHS Specialist            Unaffiliated                         Outside Institution               9/30/21       3/16/2017

   J.M. (Jeanot)     musterj@uw.edu                     AS, CMAR                  Research Scientist               Scientist                            Bioengineering                    1/31/21       3/16/2017

   J.P.V.H.          jpvh@uw.edu                        BS                        Review Scientist &               Member                               OAW                               9/30/21       3/16/2017
   (Preston)                                                                      Compliance Manager

   J.S. (Jane)       jmsull@uw.edu                      PhD                       Associate Professor              Member, Chair                        Physiology and Biophysics         1/31/21       3/16/2017

   K.A.G. (Kate)     kag18@uw.edu                       DVM, PhD                  Veterinarian                     Veterinarian                         WaNPRC                            6/30/22       8/22/2018

   K.G. (Ken)        executivedirector@nwabr.org        BS, GDipBS, PGDPP         Executive Director               Non-Scientist                        NWABR                             12/31/21      1/10/2019

   K.S. (Kim)        kstock@uw.edu                      DVM, DACLAM               Attending Veterinarian,          Attending Veterinarian               OAW                               8/31/22       9/19/2018
                                                                                  Director

   M.B. (Michelle)   mbrot@uw.edu                       PhD                       Review Scientist                 Member                               OAW                               10/31/21      10/26/2017

   M.K. (Michael)    uworama@uw.edu                     BA                        Unaffiliated Member              Business owner                       Unaffiliated                      6/30/21       9/11/2019

   M.L. (Molly)      mklucas@uw.edu                     MS, DVM                   Senior Veterinarian              Veterinarian                         DCM                               10/31/21      3/16/2017

   S.L. (Steve)      slibby@uw.edu                      PhD                       Research Associate Professor     Scientist                            Laboratory Medicine               1/31/21       3/16/2017

   S.R.H. (Scott)    srrhaskell@gmail.com               DVM, MPVM, PhD            Adjunct Professor                Unaffiliated                         Unaffiliated                      4/30/21       10/18/2017




                                                                                                                                                                                                               UW00015120


                                                                                                                                                                                                 Guillermo Decl. Exhibit G
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Alternates
   new item or edit this list

    Name of Member     Email              Degree/Credentials     Position Title                  PHS Policy Membership Requirements   Department               Term End   OPMA

    A.C. (Alex)        achris08@uw.edu    DVM                    Veterinarian                    Alternate for Veterinarian           DCM                      7/31/22

    A.F. (Amber)       aw656@uw.edu       DVM                    Senior Veterinarian             Alternate for Veterinarian           WaNPRC                   2/28/22

    A.S. (Aubrey)      aubreys@uw.edu     PhD, CPIA              Scientific Liaison              Alternate for Member                 OAW                      10/31/21   3/16/2017

    C.B. (Chris)       chrisb44@uw.edu    BA                     Public Information Specialist   Alternate for Non-Scientist          WaNPRC                   12/31/21   8/20/2019

    C.H. (Charlotte)   chotchki@uw.edu    DVM, MS, PhD, DACLAM   Veterinarian                    Alternate for Veterinarian           WaNPRC                   6/30/22    3/16/2017

    D.E. (Daniel)      deldrid@uw.edu     DVM                    Veterinarian                    Alternate for Veterinarian           DCM                      6/30/22    12/17/2018

    D.J. (Dean)        daj12@uw.edu       DVM                    Veterinarian                    Alternate for Veterinarian           WaNPRC                   11/30/20   12/17/2018

    E.C. (Emily)       ewilkins@uw.edu    PhD                    Review Scientist                Alternate for Member                 OAW                      10/31/21   3/16/2017

    J.C. (Judy)        judym@uw.edu       BS, RN                 Occupational Health Nurse       Alternate for Member                 EH&S                     1/31/21    10/11/2017

    J.F.I. (Jenny)     jpf2@uw.edu        DVM                    Review Scientist                Alternate for Member                 OAW                      3/31/21    3/16/2017

    K.Z. (Kristin)     zabrecky@uw.edu    DVM                    Veterinarian                    Alternate for Veterinarian           DCM                      6/30/22    11/6/2018

    KSH (Kelly)        ksh@uw.edu         BS                     Scientific Liaison              Alternate for Member                 OAW                      10/31/21   3/16/2017

    L.K. (Loren)       lorax@uw.edu       MS                     Research Scientist              Alternate for Scientist              Pharmaceutics            5/31/21    12/27/2017

    L.M. (Leandra)     lmosca@uw.edu      DVM                    Senior Fellow                   Alternate for Veterinarian           DCM                      6/30/21    7/3/2019

    M.B.H. (Melissa)   mhaliski@uw.edu    PhD                    Research Assistant Professor    Alternate for Scientist              Department of Pharmacy   10/31/21   10/24/2019

    M.E. (Megan)       megellis@uw.edu    DVM                    Veterinary                      Alternate for Veterinarian           DCM                      7/31/22

    R.M. (Bob)         rmurnane@uw.edu    DVM, PhD, ACVP         Research Scientist              Alternate for Veterinarian           WaNPRC                   8/31/22    10/11/2017




                                                                                                                                                                                               UW00015121


                                                                                                                                                                                       Guillermo Decl. Exhibit G
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                                                                                  UW00015122


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From:                 Kelly Johnson
Sent:                 Wednesday, September 9, 2020 10:41 AM PDT
To:                   PUBLIC RECORDS OFFICE
CC:                   Kelly Johnson
Subject:              FW: New Public Records Request: PR-2020-00621 (Jones-Engel)
Attachments:          IACUC Home - UW IACUC Contacts.pdf


Hi Jade,

Please see the response below from OAW.

This completes any responsive records from Health Sciences Administration for this request.

Thanks,

Kelly

From: Bob Ennes <ennes@uw.edu>
Sent: Wednesday, September 9, 2020 10:29 AM
To: Kelly Johnson <klj1833@uw.edu>
Subject: RE: New Public Records Request: PR-2020-00621 (Jones-Engel)

Kelly,

We do not have a responsive document as requested. The requestor asks for “a single document that
indicates, for each month, the name of each of the University of Washington’s Institutional Care and Use
Committee members, their position title and Public Health Service (PHS) Policy Membership Role.” The
document that was attached with the request as an example is treated as a living document by OAW
and is edited as membership of the Committee changes over time. We do not have archival versions of
this document.

I have attached the current version as that is the only responsive document that we possess.

Please let me know if you have any questions. Thanks.

BOB ENNES
Assistant Director
Office of Animal Welfare

Magnuson Health Sciences Center Box 357160
1959 NE Pacific St, T-254d / Seattle, WA 98195
206-221-8075
ennes@uw.edu / www.depts.washington.edu/uwhsa

W UNIVERSITY of WASHINGTON
From: Kelly Johnson <klj1833@uw.edu>
Sent: Friday, September 4, 2020 11:42 AM




                                                                                                                   UW00015144


                                                                                                      Guillermo Decl. Exhibit G
                                                                                                                 Page 15 of 28
           Case 2:24-cv-00170-JHC              Document 81-7            Filed 03/17/25        Page 17 of 29

To: Kim Stocking <kstock@uw.edu>; Bob Ennes <ennes@uw.edu>
Cc: Kelly Johnson <klj1833@uw.edu>
Subject: FW: New Public Records Request: PR-2020-00621 (Jones-Engel)

Hi Kim & Bob,

HSA has received a new public records requests from requestor Lisa Jones-Engel. The request has a
response due date of September 21, 2020. The request is attached here and additional information is
embedded below in the message forwarded from Compliance Analyst Jade McNallan. Please read the
request in it’s entirely and identify if you have responsive records. If you believe there are others that
may also have responsive records pertaining to this request, please let me know.

Please let me know if you believe you have records that are responsive and if you have any questions or
need anything clarified in order to respond to this request.

Regards,

Kelly



From: PUBLIC RECORDS OFFICE <pubrec@uw.edu>
Sent: Friday, September 4, 2020 11:36 AM
To: David M. Anderson <danderso@uw.edu>
Cc: Kelly Johnson <klj1833@uw.edu>
Subject: New Public Records Request: PR-2020-00621 (Jones-Engel)


Due to the current health emergency you may require additional time to complete your response
to this public records request. If additional time is needed to compile records, please contact our
office as soon as possible at pubrec@uw.edu with your estimated response date. Unless we hear
from you, you should respond to this request as outlined below:


*****Immediate attention required: This is a time-sensitive request for assistance from the
Office of Public Records and Open Public Meetings. Please respond by September 21,
2020.*****



Dave Anderson
Health Sciences Administration
Box 356355

Dear Dave:

Attached to this email is a new Public Records request. You are being asked to help the
University respond promptly to this request by taking the following steps:




                                                                                                             UW00015145


                                                                                                 Guillermo Decl. Exhibit G
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     1. Immediately identify all locations, within your area of responsibility, for any record
that may be responsive to this request, including any records held by others within your school,
college, unit, division or department. Below is a list of factors that must be considered when
identifying records responsive to this request.

     2.      Immediately preserve potentially responsive records from destruction or alteration.

      3. After you collect the responsive records, send electronic or hard copies of them to the
Office of Public Records and Open Public Meetings, University of Washington, Box 354997. It
is critical that the copies you send are single-sided and unstapled and that you include a copy of
this letter with your submission.

    4. Please call the staff at the Office of Public Records and Open Public Meetings at 543-
9180 with any questions or concerns you may have about this request.

If you are aware of additional faculty, staff, departments, or entities which may have records
related to this request, please notify this office as soon as possible.

Thank you for your assistance in helping the University respond to the attached public records
request in a timely and efficient manner.

Sincerely,

Jade McNallan
Compliance Analyst
UNIVERSITY OF WASHINGTON
Office of Public Records and Open Public Meetings
Mail: Roosevelt Commons-Box 354997, Seattle, WA 98195
Street: 4311 11th Ave NE, #360
206.543.9180 fax 206.616.6294
pubrec@uw.edu http://depts.washington.edu/pubrec/
_______________________________________________

Responding to Requests for Public Records

-   Any record prepared, owned, used or retained by the University, and that concerns
University business, is considered a public record and must be provided to the Office of Public
Records and Open Public Meetings.

-    The definition of a "record" is very broad and includes correspondence, hand-written notes,
forms, electronic records (such as email and databases), research records, visual records such as
pictures, cd(s) or videos, audio records etc.

-    You may not destroy or alter a requested record. This includes records that exist at the time
a public records request is received by the University even though it may have passed its legal
records retention period or is required to be destroyed by a contract.




                                                                                                     UW00015146


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-     The University is legally required to identify all responsive records, even those it might
choose to withhold from disclosure under one of the Public Records Act permissible
exemptions. Thus, you must collect and send all records to the Office of Public Records and
Open Public Meetings, even those you consider confidential or personal, those an outside party
considers confidential (such as a vendor or licensee) or personal, or those you consider covered
by the attorney-client privilege. The University might not release such records if they fall within
one of the exemptions to the Public Records Act, but it must provide the requestor an inventory
that identifies all records it chooses to exempt.

-     If the request seeks a potentially large volume of records, you should work closely with the
Office of Public Records and Open Public Meetings to determine a prompt timeframe for
collection of records. The Office of Public Records and Open Public Meetings may explore with
the requestor clarifying, narrowing, or prioritizing the request. You should not contact the
requestor directly.

-   Certain records may be found in more than one UW location. You should not assume that
someone else is going to provide records that you also have in your control.

-    The consequences of not responding promptly or completely to a request are very serious.
The University could be sued and could face costly fines and legal costs for not complying fully
with the requirements of the public records law.




                                                                                                    UW00015147


                                                                                         Guillermo Decl. Exhibit G
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                               IACUC Home          IACUC Meetings            Reference             Subcommittees           Regulatory Reports           OAW Use Only              Semi-Annual Reports       SOPs




IACUC Members
  new item or edit this list

   Name of Member    Email                              Degree/Credentials        Position Title                   PHS Policy Membership Requirements   Department                        Term End      OPMA

   A.B. (Andrew)     aburich@benaroyaresearch.org       DVM, MS, DACLAM,          Veterinarian (AV at non-UW       Veterinarian                         Outside Institution               10/31/21      3/16/2017
                                                        CPIA                      institution)

   A.W. (Aaron)      wirsinga@uw.edu                    PhD                       Associate Professor              Scientist                            School of Environmental and       10/31/21
                                                                                                                                                        Forest Sciences

   C.M. (Carolyn)    cmali@uw.edu                       MS, DVM, CMAR, CPIA,      Senior Veterinarian              Veterinarian                         WaNPRC                            12/31/21      7/18/2018
                                                        DACLAM

   D.M. (David)      dmack21@uw.edu                     PhD                       Associate Professor              Member                               Rehabilitation Medicine           9/30/21       10/14/2019

   F.R.R. (Ric)      robinsn@uw.edu                     PhD                       Professor                        Member                               Biology Structure                 8/31/21       10/23/2017

   G.S. (Garret)     gstuber@uw.edu                     PhD                       Professor                        Scientist                            Anesthesiology and Pain           11/30/21      11/4/2019
                                                                                                                                                        Medicine, Pharmacology

   J.B. (Jacqui)     jacqui.ague@seattlechildrens.org   MS                        Senior EHS Specialist            Unaffiliated                         Outside Institution               9/30/21       3/16/2017

   J.M. (Jeanot)     musterj@uw.edu                     AS, CMAR                  Research Scientist               Scientist                            Bioengineering                    1/31/21       3/16/2017

   J.P.V.H.          jpvh@uw.edu                        BS                        Review Scientist &               Member                               OAW                               9/30/21       3/16/2017
   (Preston)                                                                      Compliance Manager

   J.S. (Jane)       jmsull@uw.edu                      PhD                       Associate Professor              Member, Chair                        Physiology and Biophysics         1/31/21       3/16/2017

   K.A.G. (Kate)     kag18@uw.edu                       DVM, PhD                  Veterinarian                     Veterinarian                         WaNPRC                            6/30/22       8/22/2018

   K.G. (Ken)        executivedirector@nwabr.org        BS, GDipBS, PGDPP         Executive Director               Non-Scientist                        NWABR                             12/31/21      1/10/2019

   K.S. (Kim)        kstock@uw.edu                      DVM, DACLAM               Attending Veterinarian,          Attending Veterinarian               OAW                               8/31/22       9/19/2018
                                                                                  Director

   M.B. (Michelle)   mbrot@uw.edu                       PhD                       Review Scientist                 Member                               OAW                               10/31/21      10/26/2017

   M.K. (Michael)    uworama@uw.edu                     BA                        Unaffiliated Member              Business owner                       Unaffiliated                      6/30/21       9/11/2019

   M.L. (Molly)      mklucas@uw.edu                     MS, DVM                   Senior Veterinarian              Veterinarian                         DCM                               10/31/21      3/16/2017

   S.L. (Steve)      slibby@uw.edu                      PhD                       Research Associate Professor     Scientist                            Laboratory Medicine               1/31/21       3/16/2017

   S.R.H. (Scott)    srrhaskell@gmail.com               DVM, MPVM, PhD            Adjunct Professor                Unaffiliated                         Unaffiliated                      4/30/21       10/18/2017




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Alternates
   new item or edit this list

    Name of Member     Email              Degree/Credentials     Position Title                  PHS Policy Membership Requirements   Department               Term End   OPMA

    A.C. (Alex)        achris08@uw.edu    DVM                    Veterinarian                    Alternate for Veterinarian           DCM                      7/31/22

    A.F. (Amber)       aw656@uw.edu       DVM                    Senior Veterinarian             Alternate for Veterinarian           WaNPRC                   2/28/22

    A.S. (Aubrey)      aubreys@uw.edu     PhD, CPIA              Scientific Liaison              Alternate for Member                 OAW                      10/31/21   3/16/2017

    C.B. (Chris)       chrisb44@uw.edu    BA                     Public Information Specialist   Alternate for Non-Scientist          WaNPRC                   12/31/21   8/20/2019

    C.H. (Charlotte)   chotchki@uw.edu    DVM, MS, PhD, DACLAM   Veterinarian                    Alternate for Veterinarian           WaNPRC                   6/30/22    3/16/2017

    D.E. (Daniel)      deldrid@uw.edu     DVM                    Veterinarian                    Alternate for Veterinarian           DCM                      6/30/22    12/17/2018

    D.J. (Dean)        daj12@uw.edu       DVM                    Veterinarian                    Alternate for Veterinarian           WaNPRC                   11/30/20   12/17/2018

    E.C. (Emily)       ewilkins@uw.edu    PhD                    Review Scientist                Alternate for Member                 OAW                      10/31/21   3/16/2017

    J.C. (Judy)        judym@uw.edu       BS, RN                 Occupational Health Nurse       Alternate for Member                 EH&S                     1/31/21    10/11/2017

    J.F.I. (Jenny)     jpf2@uw.edu        DVM                    Review Scientist                Alternate for Member                 OAW                      3/31/21    3/16/2017

    K.Z. (Kristin)     zabrecky@uw.edu    DVM                    Veterinarian                    Alternate for Veterinarian           DCM                      6/30/22    11/6/2018

    KSH (Kelly)        ksh@uw.edu         BS                     Scientific Liaison              Alternate for Member                 OAW                      10/31/21   3/16/2017

    L.K. (Loren)       lorax@uw.edu       MS                     Research Scientist              Alternate for Scientist              Pharmaceutics            5/31/21    12/27/2017

    L.M. (Leandra)     lmosca@uw.edu      DVM                    Senior Fellow                   Alternate for Veterinarian           DCM                      6/30/21    7/3/2019

    M.B.H. (Melissa)   mhaliski@uw.edu    PhD                    Research Assistant Professor    Alternate for Scientist              Department of Pharmacy   10/31/21   10/24/2019

    M.E. (Megan)       megellis@uw.edu    DVM                    Veterinary                      Alternate for Veterinarian           DCM                      7/31/22

    R.M. (Bob)         rmurnane@uw.edu    DVM, PhD, ACVP         Research Scientist              Alternate for Veterinarian           WaNPRC                   8/31/22    10/11/2017




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From:                 PUBLIC RECORDS OFFICE
Sent:                 Wednesday, September 9, 2020 11:09 AM PDT
To:                   Dr. Lisa Jones-Engel
Subject:              FW: New Public Records Request: PR-2020-00621 (Jones-Engel)
Attachments:          IACUC Home - UW IACUC Contacts.pdf, image001.gif




From: Kelly Johnson <klj1833@uw.edu>
Sent: Wednesday, September 9, 2020 10:41 AM
To: PUBLIC RECORDS OFFICE <pubrec@uw.edu>
Cc: Kelly Johnson <klj1833@uw.edu>
Subject: FW: New Public Records Request: PR-2020-00621 (Jones-Engel)

Hi Jade,

Please see the response below from OAW.

This completes any responsive records from Health Sciences Administration for this request.

Thanks,

Kelly

From: Bob Ennes <ennes@uw.edu>
Sent: Wednesday, September 9, 2020 10:29 AM
To: Kelly Johnson <klj1833@uw.edu>
Subject: RE: New Public Records Request: PR-2020-00621 (Jones-Engel)

Kelly,

We do not have a responsive document as requested. The requestor asks for “a single document that
indicates, for each month, the name of each of the University of Washington’s Institutional Care and Use
Committee members, their position title and Public Health Service (PHS) Policy Membership Role.” The
document that was attached with the request as an example is treated as a living document by OAW
and is edited as membership of the Committee changes over time. We do not have archival versions of
this document.

I have attached the current version as that is the only responsive document that we possess.

Please let me know if you have any questions. Thanks.

BOB ENNES
Assistant Director
Office of Animal Welfare

Magnuson Health Sciences Center Box 357160




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1959 NE Pacific St, T-254d / Seattle, WA 98195
206-221-8075
ennes@uw.edu / www.depts.washington.edu/uwhsa

W UNIVERSITY of WASHINGTON
From: Kelly Johnson <klj1833@uw.edu>
Sent: Friday, September 4, 2020 11:42 AM
To: Kim Stocking <kstock@uw.edu>; Bob Ennes <ennes@uw.edu>
Cc: Kelly Johnson <klj1833@uw.edu>
Subject: FW: New Public Records Request: PR-2020-00621 (Jones-Engel)

Hi Kim & Bob,

HSA has received a new public records requests from requestor Lisa Jones-Engel. The request has a
response due date of September 21, 2020. The request is attached here and additional information is
embedded below in the message forwarded from Compliance Analyst Jade McNallan. Please read the
request in it’s entirely and identify if you have responsive records. If you believe there are others that
may also have responsive records pertaining to this request, please let me know.

Please let me know if you believe you have records that are responsive and if you have any questions or
need anything clarified in order to respond to this request.

Regards,

Kelly



From: PUBLIC RECORDS OFFICE <pubrec@uw.edu>
Sent: Friday, September 4, 2020 11:36 AM
To: David M. Anderson <danderso@uw.edu>
Cc: Kelly Johnson <klj1833@uw.edu>
Subject: New Public Records Request: PR-2020-00621 (Jones-Engel)


Due to the current health emergency you may require additional time to complete your response
to this public records request. If additional time is needed to compile records, please contact our
office as soon as possible at pubrec@uw.edu with your estimated response date. Unless we hear
from you, you should respond to this request as outlined below:


*****Immediate attention required: This is a time-sensitive request for assistance from the
Office of Public Records and Open Public Meetings. Please respond by September 21,
2020.*****




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Dave Anderson
Health Sciences Administration
Box 356355

Dear Dave:

Attached to this email is a new Public Records request. You are being asked to help the
University respond promptly to this request by taking the following steps:


     1. Immediately identify all locations, within your area of responsibility, for any record
that may be responsive to this request, including any records held by others within your school,
college, unit, division or department. Below is a list of factors that must be considered when
identifying records responsive to this request.

     2.      Immediately preserve potentially responsive records from destruction or alteration.

      3. After you collect the responsive records, send electronic or hard copies of them to the
Office of Public Records and Open Public Meetings, University of Washington, Box 354997. It
is critical that the copies you send are single-sided and unstapled and that you include a copy of
this letter with your submission.

    4. Please call the staff at the Office of Public Records and Open Public Meetings at 543-
9180 with any questions or concerns you may have about this request.

If you are aware of additional faculty, staff, departments, or entities which may have records
related to this request, please notify this office as soon as possible.

Thank you for your assistance in helping the University respond to the attached public records
request in a timely and efficient manner.

Sincerely,

Jade McNallan
Compliance Analyst
UNIVERSITY OF WASHINGTON
Office of Public Records and Open Public Meetings
Mail: Roosevelt Commons-Box 354997, Seattle, WA 98195
Street: 4311 11th Ave NE, #360
206.543.9180 fax 206.616.6294
pubrec@uw.edu http://depts.washington.edu/pubrec/
_______________________________________________

Responding to Requests for Public Records

-   Any record prepared, owned, used or retained by the University, and that concerns
University business, is considered a public record and must be provided to the Office of Public
Records and Open Public Meetings.




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-    The definition of a "record" is very broad and includes correspondence, hand-written notes,
forms, electronic records (such as email and databases), research records, visual records such as
pictures, cd(s) or videos, audio records etc.

-    You may not destroy or alter a requested record. This includes records that exist at the time
a public records request is received by the University even though it may have passed its legal
records retention period or is required to be destroyed by a contract.

-     The University is legally required to identify all responsive records, even those it might
choose to withhold from disclosure under one of the Public Records Act permissible
exemptions. Thus, you must collect and send all records to the Office of Public Records and
Open Public Meetings, even those you consider confidential or personal, those an outside party
considers confidential (such as a vendor or licensee) or personal, or those you consider covered
by the attorney-client privilege. The University might not release such records if they fall within
one of the exemptions to the Public Records Act, but it must provide the requestor an inventory
that identifies all records it chooses to exempt.

-     If the request seeks a potentially large volume of records, you should work closely with the
Office of Public Records and Open Public Meetings to determine a prompt timeframe for
collection of records. The Office of Public Records and Open Public Meetings may explore with
the requestor clarifying, narrowing, or prioritizing the request. You should not contact the
requestor directly.

-   Certain records may be found in more than one UW location. You should not assume that
someone else is going to provide records that you also have in your control.

-    The consequences of not responding promptly or completely to a request are very serious.
The University could be sued and could face costly fines and legal costs for not complying fully
with the requirements of the public records law.




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IACUC Members
  new item or edit this list

   Name of Member    Email                              Degree/Credentials        Position Title                   PHS Policy Membership Requirements   Department                        Term End      OPMA

   A.B. (Andrew)     aburich@benaroyaresearch.org       DVM, MS, DACLAM,          Veterinarian (AV at non-UW       Veterinarian                         Outside Institution               10/31/21      3/16/2017
                                                        CPIA                      institution)

   A.W. (Aaron)      wirsinga@uw.edu                    PhD                       Associate Professor              Scientist                            School of Environmental and       10/31/21
                                                                                                                                                        Forest Sciences

   C.M. (Carolyn)    cmali@uw.edu                       MS, DVM, CMAR, CPIA,      Senior Veterinarian              Veterinarian                         WaNPRC                            12/31/21      7/18/2018
                                                        DACLAM

   D.M. (David)      dmack21@uw.edu                     PhD                       Associate Professor              Member                               Rehabilitation Medicine           9/30/21       10/14/2019

   F.R.R. (Ric)      robinsn@uw.edu                     PhD                       Professor                        Member                               Biology Structure                 8/31/21       10/23/2017

   G.S. (Garret)     gstuber@uw.edu                     PhD                       Professor                        Scientist                            Anesthesiology and Pain           11/30/21      11/4/2019
                                                                                                                                                        Medicine, Pharmacology

   J.B. (Jacqui)     jacqui.ague@seattlechildrens.org   MS                        Senior EHS Specialist            Unaffiliated                         Outside Institution               9/30/21       3/16/2017

   J.M. (Jeanot)     musterj@uw.edu                     AS, CMAR                  Research Scientist               Scientist                            Bioengineering                    1/31/21       3/16/2017

   J.P.V.H.          jpvh@uw.edu                        BS                        Review Scientist &               Member                               OAW                               9/30/21       3/16/2017
   (Preston)                                                                      Compliance Manager

   J.S. (Jane)       jmsull@uw.edu                      PhD                       Associate Professor              Member, Chair                        Physiology and Biophysics         1/31/21       3/16/2017

   K.A.G. (Kate)     kag18@uw.edu                       DVM, PhD                  Veterinarian                     Veterinarian                         WaNPRC                            6/30/22       8/22/2018

   K.G. (Ken)        executivedirector@nwabr.org        BS, GDipBS, PGDPP         Executive Director               Non-Scientist                        NWABR                             12/31/21      1/10/2019

   K.S. (Kim)        kstock@uw.edu                      DVM, DACLAM               Attending Veterinarian,          Attending Veterinarian               OAW                               8/31/22       9/19/2018
                                                                                  Director

   M.B. (Michelle)   mbrot@uw.edu                       PhD                       Review Scientist                 Member                               OAW                               10/31/21      10/26/2017

   M.K. (Michael)    uworama@uw.edu                     BA                        Unaffiliated Member              Business owner                       Unaffiliated                      6/30/21       9/11/2019

   M.L. (Molly)      mklucas@uw.edu                     MS, DVM                   Senior Veterinarian              Veterinarian                         DCM                               10/31/21      3/16/2017

   S.L. (Steve)      slibby@uw.edu                      PhD                       Research Associate Professor     Scientist                            Laboratory Medicine               1/31/21       3/16/2017

   S.R.H. (Scott)    srrhaskell@gmail.com               DVM, MPVM, PhD            Adjunct Professor                Unaffiliated                         Unaffiliated                      4/30/21       10/18/2017




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Alternates
   new item or edit this list

    Name of Member     Email              Degree/Credentials     Position Title                  PHS Policy Membership Requirements   Department               Term End   OPMA

    A.C. (Alex)        achris08@uw.edu    DVM                    Veterinarian                    Alternate for Veterinarian           DCM                      7/31/22

    A.F. (Amber)       aw656@uw.edu       DVM                    Senior Veterinarian             Alternate for Veterinarian           WaNPRC                   2/28/22

    A.S. (Aubrey)      aubreys@uw.edu     PhD, CPIA              Scientific Liaison              Alternate for Member                 OAW                      10/31/21   3/16/2017

    C.B. (Chris)       chrisb44@uw.edu    BA                     Public Information Specialist   Alternate for Non-Scientist          WaNPRC                   12/31/21   8/20/2019

    C.H. (Charlotte)   chotchki@uw.edu    DVM, MS, PhD, DACLAM   Veterinarian                    Alternate for Veterinarian           WaNPRC                   6/30/22    3/16/2017

    D.E. (Daniel)      deldrid@uw.edu     DVM                    Veterinarian                    Alternate for Veterinarian           DCM                      6/30/22    12/17/2018

    D.J. (Dean)        daj12@uw.edu       DVM                    Veterinarian                    Alternate for Veterinarian           WaNPRC                   11/30/20   12/17/2018

    E.C. (Emily)       ewilkins@uw.edu    PhD                    Review Scientist                Alternate for Member                 OAW                      10/31/21   3/16/2017

    J.C. (Judy)        judym@uw.edu       BS, RN                 Occupational Health Nurse       Alternate for Member                 EH&S                     1/31/21    10/11/2017

    J.F.I. (Jenny)     jpf2@uw.edu        DVM                    Review Scientist                Alternate for Member                 OAW                      3/31/21    3/16/2017

    K.Z. (Kristin)     zabrecky@uw.edu    DVM                    Veterinarian                    Alternate for Veterinarian           DCM                      6/30/22    11/6/2018

    KSH (Kelly)        ksh@uw.edu         BS                     Scientific Liaison              Alternate for Member                 OAW                      10/31/21   3/16/2017

    L.K. (Loren)       lorax@uw.edu       MS                     Research Scientist              Alternate for Scientist              Pharmaceutics            5/31/21    12/27/2017

    L.M. (Leandra)     lmosca@uw.edu      DVM                    Senior Fellow                   Alternate for Veterinarian           DCM                      6/30/21    7/3/2019

    M.B.H. (Melissa)   mhaliski@uw.edu    PhD                    Research Assistant Professor    Alternate for Scientist              Department of Pharmacy   10/31/21   10/24/2019

    M.E. (Megan)       megellis@uw.edu    DVM                    Veterinary                      Alternate for Veterinarian           DCM                      7/31/22

    R.M. (Bob)         rmurnane@uw.edu    DVM, PhD, ACVP         Research Scientist              Alternate for Veterinarian           WaNPRC                   8/31/22    10/11/2017




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